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January 24, 2023

U.S. Department of Justice
950 Pennsylvania Ave, NW
Washington, DC 20530-0001
(888) 549-3945

Glenn Leon
Chief, Fraud Section
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Via email: Victimassistance.fraud@usdoj.gov, Glenn.Leon@usdoj.gov


Re:   Statement on Arraignment of The Boeing Company

Dear Mr. Leon and Victim Assistance Team:

       We are writing to you on behalf of the families of numerous decedents who
perished on Lion Air Flight JT610 on October 29, 2018. We would request that this
statement be submitted to the Court or that you advise us as to how and when this
statement may be submitted in connection with the pending arraignment of The Boeing
Company for its criminal conduct in connection with the deaths of all passengers on
JT610 and the subsequent 737 Max crash. We also would like the DOJ to consider
investigating the issues set forth below and consider whether any of the alleged conduct
should be made conditions of release.

   1. Post Crash Liability Release Conduct:

        During the meet and confer held today on January 24, 2023, several victim family
members or their advocates raised concern over why the DOJ has not placed as much
focus on Boeing’s apparent conduct aimed to conceal and downplay their culpability
between the first and second crash. Our investigations have revealed that Boeing has
historically engaged in post crash activity to evade responsibility, shift focus to alleged
pilot error, and dampen victim interest in seeking legal recoveries. Most notably, Boeing
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and its insurers have historically benefitted from the immediate–and what we believe to
be improper–targeting of victim families (particularly in third world countries) with
liability releases where the families are enticed with very small sums of money by US
standards to essentially provide a full and complete release of liability that primarily
benefits Boeing, which in the case of the Indonesian Lion Air crash, is actually in
violation of Indonesian law as determined by the Office of Ombudsman of the Republic
of Indonesia Report No. 0222/Inv/IV/2019/JKT 1. Our team witnessed and documented
firsthand this practice and has collected extensive forensic evidence of this practice. Our
work on this alleged improper release practice was highlighted in the widely recognized
definitive documentary best seller Flying Blind, and we offered the same information
from the same dossier to the DOJ for investigation. The DOJ has shown no interest to
date. This practice, we believe, is part of the corporate culture that contributed to the
second 737 MAX crash of ET302 because it allowed Boeing to silence victims and
dampen interest in their misconduct, keep the 737 MAX fleet in the air, and ultimately
detract from their own liability. Boeing has also used these releases historically to fuel
forum non conveniens motion practice to keep litigation and discovery on crashes
involving Boeing planes outside the United States—thereby evading true scrutiny and
legal and financial accountability.

        We therefore request that:

              (i)    The DOJ investigate Boeing’s historic practice of benefitting from
                     the solicitation of releases from unrepresented families within days
                     of crashes happening, with particular focus on their conduct in Lion
                     Air and how or whether this facilitated the alleged criminal conduct
                     which kept their defective planes in the air. We believe that the
                     investigation should focus on w hether B oeing w as
                     coor dinating the pr actice, or used its la w fir m s or
                     insur er s to do so, and/or know ingly benefitted as such . It
                     should also investigate whether Boeing and/or its agents or insurers
                     coordinated with foreign governments to further this practice, and
                     what was the nature of that coordination.

              (ii)   The DOJ insist that a condition of release for Boeing include
                     provisions that prohibit Boeing or its insurers from directly or
                     indirectly attempting to obtain releases from unrepresented
                     families in the future, and the DOJ should request, as part of any

1 Based on our investigation and client firsthand accounts, it appears that this practice of
targeting Indonesian families with releases began within days of the crash, and within
one month of the crash, as the Sept. 22, 2022 SEC press release and investigation
revealed, Boeing issued a press release, edited and approved by then Boeing CEO
Dennis Muilenburg, that selectively highlighted certain facts supposedly suggesting that
pilot error and poor aircraft maintenance contributed to the crash. As such, given what
the SEC investigations uncovered, both the collection of liability releases and the
dissemination of false or misleading information appeared to be part of a highly
coordinated playbook by Boeing to consistently cover up and limit its exposure to
liability from plane crashes occurring outside of the United States.
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                      penalty or subsequent criminal settlement, that additional funds be
                      paid by Boeing to JT610 families who were pressured or enticed to
                      sign liability releases improperly. These families suffered the
                      indignity of having Boeing kill their loved ones, and then were
                      essentially revictimized to mitigate Boeing’s liability. All while
                      Boeing was continuing with allegedly criminal conduct which killed
                      everyone aboard ET302.

   2. Boeing Post Crash Coordination With Foreign Governments:

        We request that the DOJ investigate Boeing’s conduct in connection with
meetings, phone calls, etc. after both crashes where Boeing appeared to be directly
coordinating with foreign government officials. It is believed that Boeing has historically
exerted significant influence on the outcome of crash investigations. In the wake of the
Lion Air crash, Boeing is believed to have met with Indonesian government officials
(noting also that some government officials were observed directly participating in the
collection of the liability releases described above) and is believed to have continued to
have meetings with Indonesian government officials through the eve of the release of the
KNKT (the Indonesian equivalent of the NTSB) report. Attached as Exhibit 1 is a
screenshot provided to our team showing coordination for a meeting between
Indonesian government officials and high level Boeing executives. The date of this
meeting was shortly before the release of the KNKT report, and also after Boeing had
pledged to give $50M to families of victims of JT610 and ET302, and $50M to affected
“communities.” To date, there has been little available information, despite our express
and repeated requests, on where the $50M of community money went, how it was spent,
and for what purpose.

       We therefore request that:

              (i)     The DOJ request immediate disclosure about any and all meetings
                      which Boeing had with Indonesian and/or Ethiopian government
                      officials after either or both crashes;

              (ii)    The DOJ request immediate disclosure by Boeing and the
                      community fund administrators (Kenneth Feinberg et al.) as to how
                      and where the community funds were paid, and what the funds
                      were used for; and

              (iii)   The DOJ request that a condition of release for Boeing include
                      provisions that prohibit Boeing from coordinating with any foreign
                      government in a manner to try to influence the outcome of any
                      pending crash investigation, and that Boeing must disclose to an
                      independent monitor any and all such meetings for any current or
                      future crash investigations. Failure to disclose any such meeting or
                      planned meeting to an independent monitor would be a violation of
                      a condition of release.


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   3. Parity of Victim Restitution:

       Throughout the criminal proceedings, it is the perception of our Indonesian
clients that greater access and attention has been given to victims of the ET302 crash.
We request moving forward that the DOJ ensure that counsel for JT610 victims and the
families are provided full and complete information on all aspects of the proceedings,
and are treated equally in any consideration of penalties applied or restitution paid.
While it is true that Boeing was clearly on notice after the Lion Air crash, evidence
reveals that in fact Boeing had been on notice regarding MCAS defects for a significant
duration before the crash of JT610 and that the alleged criminal conduct in question
had begun well in advance of both crashes. We humbly submit that the victims of JT610
suffered the further indignity of a liability release scheme, and demand that the DOJ
investigate these allegations and take steps to end this practice and other aspects of the
Boeing corporate culture which caused the deaths of all passengers aboard JT610 and
ET302.

                                         Respectfully yours,


                                         ____________________
                                         Sanjiv Singh
                                         Lead Counsel for Certain Lion
                                         Air Victims of Lion Air Flight JT 610




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                                         Michael Indrajana
                                         Co Counsel for Certain Lion
                                         Air Victims of Lion Air Flight JT 610




    Cc: Lion Air JT610 Victims And Counsel, Ethiopian Airlines ET302 Victims and Counsel




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